Case 8:22-cv-00099-DOC-DFM Document 350-7 Filed 05/26/22 Page 1 of 5 Page ID
                                 #:5380
Case 8:22-cv-00099-DOC-DFM Document 350-7 Filed 05/26/22 Page 2 of 5 Page ID
                                 #:5381
Case 8:22-cv-00099-DOC-DFM Document 350-7 Filed 05/26/22 Page 3 of 5 Page ID
                                 #:5382
Case 8:22-cv-00099-DOC-DFM Document 350-7 Filed 05/26/22 Page 4 of 5 Page ID
                                 #:5383
Case 8:22-cv-00099-DOC-DFM Document 350-7 Filed 05/26/22 Page 5 of 5 Page ID
                                 #:5384
